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                                                                                 JUN 5 2024 PM3:52
                                                                              FILED-USDC-CT -HARTFORD

                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


                                     COMPLAINT FORM




Full names of Defendant(s)
(Do not use et al.)



1.
      A
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                    0   ill'l\OJ\ A.is PARTIES     C         1-I-.:. C' ,...1.
                                       a citizen ofQ n Y)k:_{) I vL,( who
                                                                  f')

              (Plaintiff)
presently resides at
                            ll\ \ ~', {Q.lfl/\
                            'b
                                           .rJ , A~ '()
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                                                        (.§,t~te). .rt ()-

                             (mailin address)
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                                                                        Q()\~(_,

2. Defendant                     l    D(\j;.    is a citizen of
            (namE,,Bf,_first d!Aendan\)
whose address is    Yh\C) Vtl)S\J? (:\ .;_M
                                          , -
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3. Defendant    )\\J2.d \ CLYY\(.ni
               (name of second defendant)
                                                      is a citizen of   Coa   OQC:bc.t tt
                                                                         (State)

whose address is      CR' Ql:~(.fr }r,JQ_,
(If more space is needed to furnish the above information for additional defendants,
continue on a blank sheet which you should label "A. PARTIES." Be sure to include
each defendant's identity and complete address.)


                                      B. JURISDICTION
 The jurisdiction of this court is invoked pursuant to: (list statute(s))




                                C. NATURE OF THE CASE
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                                               D. CAUSE OF ACTION

           I allege that the following of my constitutional rights, privileges, or immunities or my
           rights under a federal statute have been violated and that the following facts form the
           basis of my allegations: (If more space is needed to explain any allegation or to list
           additional supporting facts, continue on a blank sheet which you should label "D.
           CAUSE OF ACTION.")

           Claim I:   fyefclQ{Y\ ·b) { ,l VQ
                      ~ Df ~~                          <




           Supporting Facts: (Include all facts you consider important, including names of persons
           involved, places, and dates. Describe exactly how each defendant is involved. State
           the facts clearly in your own words without citing legal authority or argument.)
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           Supporting Facts:
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          Yv r \r\ C t 'f\ .e . \ pYU            ·
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                                 E. REQUEST FOR RELIEF



0     rdJlrrord _ +~ GetJu.\ \
            WHEREFORE, plaintiff demands: (state the relief you seek)



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    " Vt\) .Pov dci -r,otf~

                                      F. JURY DEMAND


                                                    No
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Original signature of attorney (if any)


Printed Name                                          Printed Name       A-f\ (\ a ~l { \ \ \ \I O\fh
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( )                                                   (~ ((}\2-"L\ \ \
Attorney's full address and telephone                 Plaintiff's full address and telephone


Email address if available                            Email address if available




                DECLARATION UNDER PENAL TY OF PERJURY

       The undersigned declares under penalty of perjury that he/she is the plaintiff in
the above action, that he/she has read the above complaint and that the information
contained in the complaint is true and correct. 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Executed at       l1C\YtfuY~                     on          b { S:! 2L\
                  (location)                           (date)   '    /


                                                      Plaintiffs Original Signature




(Rev.3/29/16)




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